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 4
     Attorney for Defendant
 5
     CRUZ MANZO-GONZALEZ
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                     )       No. CR. S-09-407 FCD
 9
                                                   )
                                                   )
10          Plaintiff,                             )       STIPULATION AND ORDER
                                                   )       CONTINUING STATUS CONFERENCE
11
     v.                                            )
                                                   )
12
     MARIA DEL ROCIO ARCEO-RANGEL,                 )       Judge: Honorable Frank C. Damrell, Jr.
                                                   )
13   et al.,                                       )
                                                   )
14
            Defendants.                            )
                                                   )
15
                                                   )
16

17          IT IS HEREBY stipulated between the UNITED STATES OF AMERICA through its

18   undersigned counsel, Samuel Wong, Assistant United States Attorney, together with counsel for

19   defendant Maria Del Rocio Arceo-Rangel, Michael D. Long, Esq., counsel for defendant Erica

20   Beatriz Martinez-Rangel, Hayes H. Gable, III, Esq., counsel for defendant Martin Garcia-

21   Chavez, Michael B. Bigelow, Esq., counsel for defendant Isidro Gutierrez-Valencia, Dina L.

22   Santos, Esq., counsel for defendant Cruz Manzo-Gonzalez, John R. Manning, Esq., counsel for

23   defendant Alfredo Gallardo-Sosa, Jesse Ortiz, Esq., counsel for defendant Luis Renee Estrada

24   Castanon, Michael E. Hansen, Esq., counsel for defendant Walter Marcuicio Lopez-Perez, Julia

25   Vera, Esq., counsel for defendant Gumersindo Perez-Herrera, Preeti K. Bajwa, counsel for

26   defendant Jorge Heriberto Andrade-Torres, Kirk McAllister, Esq., counsel for defendant Ricardo

27   Castellanos-Cordova, Clemente M. Jimenez, Esq., counsel for defendant Jesus Munoz-Castanon,

28   Carl E. Larson, Esq., and counsel for defendant Pedro Gutierrez-Valencia, James R. Greiner,



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 1   Esq., hereby agree and stipulate that the status conference presently set for January 10, 2011 be
 2   continued to February 3, 2011, at 10:00 a.m. before the Honorable Kimberly J. Mueller,
 3   thus vacating the presently set status conference.
 4          Further, all of the parties, the United States of America and all of the defendants as stated
 5   above, hereby agree and stipulate that time under the Speedy Trial Act should be excluded under
 6   Title 18, United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local
 7   code T-2 (unusual and complex case) and Local Code T-4 (to allow defense counsel time to
 8   prepare) from the date of the parties’ stipulation, January 6, 2011, to and including Thursday
 9   February 3, 2011.
10                              PROCEDURAL STATUS OF THE CASE
11          On September 10 and 17, 2009, the government filed a criminal complaint against all
12   defendants. (See Docket Entries #1 and 1)
13          On September 18, 2009, the government filed an Indictment charging twelve (12)
14   defendants in Count 1 (conspiracy to manufacture at least 1,000 marijuana plants, Title 21,
15   U.S.C. Sections 846 and 841 (a)(1)), Count 2 (manufacture of at least 1,000 marijuana plants,
16   Title 21, U.S.C. Section 841 (a)(1)), and Count 3 (possession and discharge of a firearm in
17   furtherance of a drug trafficking crime), Title 18, U.S.C. Section 924 (c)(1)(A)(i) and (iii)), and
18   charging one defendant in Count 4 (accessory after the fact, Title 18, U.S.C. Section 3) and a
19   Forfeiture Allegation against twelve (12) of the defendants (Title 21, U.S.C. Section 853(a), Title
20   18, U.S.C. Section 924(d)(1) and Title 28, U.S.C. Section 2461 (c)).
21

22                       TIME EXCLUDED UNDER THE SPEEDY TRIAL ACT
23          The parties (the government and all thirteen (13) defendants) agree and stipulate that with
24   the voluminous discovery, the number of defendants involved in the case (13), the complex legal
25   issues involved in the case and the time needed by all defendants (13) to review all of the
26   discovery produced by the government to date, it is unreasonable to expect adequate preparation
27   for pretrial proceedings and trial itself within the time limits established in § 3161. In addition,
28   the parties stipulate and agree that the continuance requested herein is necessary to provide


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 1   defense counsel reasonable time to prepare their respective clients' defenses taking into account
 2   due diligence and that the interests of justice in granting this reasonable request for a continuance
 3   outweighs the best interests of the public and defendants for a speedy trial in this case, pursuant
 4   to Title 18, United States Code, Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to
 5   Local Code T-2 (unusual and complex case) and Local Code T-4 (to allow defense counsel time
 6   to prepare).
 7                                                                 Respectfully submitted:
 8   Dated: January 6, 2011                                        /s/ Michael D. Long
                                                                   MICHAEL D. LONG
 9
                                                                   Attorney for Defendant
10                                                                 Maria Del Rocio Arceo-Rangel

11   Dated: January 6, 2011                                        /s/ Michael B. Bigelow
                                                                   MICHAEL B. BIGELOW
12
                                                                   Attorney for Defendant
13                                                                 Martin Garcia-Chavez

14   Dated: January 6, 2011                                        /s/ Hayes H. Gable
15
                                                                   HAYES H. GABLE
                                                                   Attorney for Defendant
16                                                                 Erica Beatriz Martinez-Rangel
17   Dated: January 6, 2011                                         /s/ Dina L. Santos
18
                                                                   DINA L. SANTOS
                                                                   Attorney for Defendant
19                                                                 Isidro Gutierrez-Valencia
20
     Dated: January 6, 2011                                         /s/ John R. Manning
21                                                                 JOHN R. MANNING
                                                                   Attorney for Defendant
22                                                                 Cruz Manzo-Gonzalez
23
     Dated: January 6, 2011                                        /s/ Clemente M. Jimenez
24                                                                 CLEMENTE M. JIMENEZ
                                                                   Attorney for Defendant
25                                                                 Ricardo Castellanos-Cordova
26
     Dated: January 6, 2011                                        /s/ Michael E. Hansen
27                                                                 MICHAEL E. HANSEN
                                                                   Attorney for Defendant
28                                                                 Luis Renee Estrada Castanon


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 1
     Dated: January 6, 2011                            /s/ Jesse Ortiz
 2                                                    JESSE ORTIZ
                                                      Attorney for Defendant
 3                                                    Alfredo Gallardo-Sosa
 4

 5   Dated: January 6, 2011                            /s/ Julia Vera
                                                      JULIA VERA
 6                                                    Attorney for Defendant
 7
                                                      Walter Maruicio Lopez-Perez

 8   Dated: January 6, 2011                           /s/ Preeti K. Bajwa
                                                      PREETI K. BAJWA
 9                                                    Attorney for Defendant
10
                                                      Gumersindo Perez-Herrera

11   Dated: January 6, 2011                            /s/ Kirk McAllister
                                                      KIRK MCALLISTER
12
                                                      Attorney for Defendant
13                                                    Jorge Heriberto Andrade-Torres

14   Dated: January 6, 2011                            /s/ Carl E. Larson
                                                      CARL E. LARSON
15
                                                      Attorney for Defendant
16                                                    Jesus Munoz-Castanon

17   Dated: January 6, 2011                            /s/ James R. Greiner
                                                      JAMES R. GREINER
18
                                                      Attorney for Defendant
19                                                    Pedro Gutierrez-Valencia

20
     Dated: January 6, 2011                           Benjamin B. Wagner
21
                                                      United States Attorney
22
                                                by:   /s/ Samuel Wong
23                                                    SAMUEL WONG
                                                      Assistant U.S. Attorney
24
            IT IS SO ORDERED.
25
     Dated: January 7, 2011
26

27                                      _______________________________________
                                        FRANK C. DAMRELL, JR.
28                                      UNITED STATES DISTRICT JUDGE


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